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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA          )
                                  )
                                  )
v.                                )     Case No. 21-cr-00303
                                  )
DEBORAH LYNN LEE                  )
                                  )
                Defendant         )
                                  )



                 MOTION TO WITHDRAW APPEARANCE




                                        William L. Shipley, Jr., Esq.
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                                        Attorney for Defendant
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      NOW COMES William L. Shipley and moves this Honorable Court to

allow him to withdraw his appearance as counsel as to Deborah Lee for the

following reasons:

   1. John M. Pierce has been primary counsel.

   2. Mr. Shipley only entered a notice of appearance as co-counsel for the to

      handle a motions hearing Mr. Pierce was unable to appear for.

      WHEREFORE, undersigned counsel requests that he be allowed to

withdraw his appearance as counsel in this matter.



Dated: April 8, 2023                Respectfully submitted,

                                    /s/ William L. Shipley
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